Case 2:16-cv-17647-NJB-JVM Document 1-2 Filed 12/21/16 Page 1 of 11




     CATHERINE D. BETEMPS                                      STATE OF LOUISIANA

     VERSUS
                                                               17th JUDICIAL DISTRICT COURT
     DOLGENCORP, LLC d/b/a
     DOLLAR GENERAL and
     XYZ INSURANCE COMPANY                                     PARISH OF LAFOURCHE



     DOCKET NO        131W                                     DIVISION "

     ****************************************************************<
                                                                                                         £
                                                                                  O!
                                    PETITION FOR DAMAGES

              NOW INTO COURT, through undersigned counsel, comes the plaintiff, CATHERINE D.

     BETEMPS, who is domiciled in the Parish of Lafourche, State of Louisiana, who respectfully

     represents:


                                                      1.


              The plaintiff shows that the entities listed below are made defendants and are liable unto

     plaintiff, jointlyand in solido. foran amount as isjustified in thepremises, withlegal interest from

     thedateofjudicialdemand, until paid,andforallcostsof these proceedings, forallreasons setforth

     below:

              A)     DOLGENCORP, LLC d/b/a DOLLAR GENERAL, a foreign limited liability
                     companylicensed to do business in the State of Louisiana.




              Venue is proper in this action pursuant to Louisiana Code of Civil Procedure Article 74.

                                                      3.


              On or about November 13, 1015, at approximately 11:45 a.m., plaintiffCatherine D.

     Betemps was shopping at the Dollar General #1288, located on St. Mary Street, in Thibodaux,

     Parish of Lafourche, Stateof Louisiana. Ms. Betemps grabbed a bottleof milk,thencarried themilk

     toward the checkout counter. After arriving at the checkout counter, she realized there were no

     Dollar General employees in the checkout area.




                                                 Page 1 of 4
Case 2:16-cv-17647-NJB-JVM Document 1-2 Filed 12/21/16 Page 2 of 11




                                                     4.


            Ms. Betemps set down her milk on the checkout counter, left the checkout areaand located

     a Dollar General employee in another part of the store. The Dollar General employee, began

     approaching her. Then anothercustomer, an older man, walked past the DollarGeneralemployee

     toward Ms. Betemps; the customer was carrying a bottle of liquid soap. Unbeknownst to Ms.

     Betemps, the customer's liquid soap was drippingonto the floor.

                                                     5,


            The customer with the dripping soap passedMs. Betemps. Without ever seeing the soap, Ms.

     Betemps slipped in the soap. As she was slipping and falling, the DollarGeneral employee said,

     "Watch, ma'am." But Dollar General employee's warning was too late because as the Dollar

     General employee utteredthe words,"Watch, ma'am," Ms. Betemps was alreadyfalling. She landed

     on her right shoulder.

                                                     6.


             As a result of defendant DOLGENCORP, LLC d/b/a DOLLAR GENERAL'S negligence,

     plaintiff Catherine D. Betemps sustained personal injuries.

                                                     7.


             Ms. Betemps could havetakenno actionto preventthis accident; consequently,she was and

     is free of comparative fault.

                                                     8.


             The defendant DOLGENCORP, LLC d/b/a DOLLAR GENERAL is responsible for the

     injuries and damages suffered by plaintiff Catherine D. Betemps because of the following non

     exclusive list of particulars:

             A)      Presenting a reasonably foreseeable unreasonable risk of harm by stocking and
                     selling a leaky soapbottle and allowing a customer to carrythe leaky soap bottle to
                     make it drip on the floor;

             B)      Creatingthe condition of leaky soapbottle and having actualnotice ofthe condition
                     priorto Ms. Betemps' accident;

             C)      Failing to exercise reasonable care to prevent the stocking and selling of a leaky
                    •liquid soap bottle;


                                                 Page 2 of 4
Case 2:16-cv-17647-NJB-JVM Document 1-2 Filed 12/21/16 Page 3 of 11




             D)     Failing to properly and timely warn Ms. Betemps of this unreasonably dangerous
                    condition and defect;

             E)     Failingto take corrective measures to remedy this hazard, vice and defect which it
                    knew or should have known existed; and

             F)     Other acts or omissions which will be provenat trial.

                                                      9.

             As a result of the defendant DOLGENCORP, LLC d/b/a DOLLAR GENERAL'S actions,

     plaintiff Catherine D. Betemps suffered personal injuries as illustrated in this non-exclusive list of

     particulars:

             A)     Injuries to her right wrist,arm and shoulder,requiringgeneral medical care, physical
                    therapy, pain management and shoulder surgery;

             B)     Injuries to her lower back requiring general medical care; and

             C)     Other acts which will be proven at trial.

                                                      10.

             As a result ofCatherineD. Betemps' personalinjuries,she is entitledto recoverthe following

     non-exclusive list of damages:                                                                      ,
                                                                                                         i


             A)     Physical painandsuffering (past, present and future);

             B)     Loss of enjoyment of life (past,presentand future);

             C)     Mental anguish andanxiety (past, present andfuture);

             D)     Medical expenditures (past,present and future);

             E)     Lost earning capacity (past, present and future); and

             F)     Other damagesnot knownat this time.

             WHEREFORE, plaintiff prays that after due proceedings are had, there bejudgment in

     favor of plaintiff, CATHERINE D. BETEMPS, and against the defendants, DOLGENCORP,
     LLC d/b/a DOLLAR GENERAL, for an amount as justified in the premises, togetherwith legal

     interest from the dateofjudicial demand, until paid, andforall costsof theseproceedings.




                                                  Page 3 of 4
Case 2:16-cv-17647-NJB-JVM Document 1-2 Filed 12/21/16 Page 4 of 11




                                                   Respectfully submitted,

                                                   WOODY FALjGOUST,
                                                   A Law Corporation



                                                   WOODY FALGOUJ
                                                   CASSIE RODRIGUE BI           D(#30991)
                                                   1050 Canal Boulevard
                                                   Thibodaux, LA 70301
                                                   Telephone: 985-447-6665
                                                   Fax:985-493-9908
                                                   Attorneys for the plaintiff Catherine D. Betemps



     PLEASE SERVE;


     DOLGENCORP, LLC
     d/b/a DOLLAR GENERAL
     through its agent for services of process:
     Corporation Service Company
     501 Louisiana Avenue
     Baton Rouge, Louisiana 70802




                                                                       A TRUE COPY...
                                                                    Clerk of Court's Office^



                                                  Page 4 of 4
Case 2:16-cv-17647-NJB-JVM Document 1-2 Filed 12/21/16 Page 5 of 11




                                        .*•"




     CATHERINE D. BETEMPS                                     STATE OF LOUISIANA

     VERSUS
                                                              17™JUDICIAL DISTRICT COURT
     DOLGENCORP, LLC d/b/a
     DOLLAR GENERAL and
     XYZ INSURANCE COMPANY                                    PARISH OF LAFOURCHE



     DOCKET NO. / jjpOfy                                      DIVISION M

     *************************************************************


                  PLAINTIFF'S NOVEMBER 10,2016 DISCOVERY TO
            DEFENDANT DOLGEN CORP. LLC d/b/a DOLLAR GENERAL

            NOW INTO COURT, through undersigned counsel, comes the plaintiff, Catherine D.

     Betemps,who requeststhat defendantDOLGENCORP, LLCd/b/a DOLLARGENERAL, answers

     under oath and in writing the following Interrogatories and Requests for Production and that

     defendant produce such answers and documents in the offices of undersigned counsel within the

     delays allowed by law.

            In the following, "you,""your,""yours" and/or "Dollar General" referto DOLGENCORP,

     LLC d/b/a DOLLAR GENERAL.

            Also in thefollowing, "theaccident" refers to theaccident described in plaintiffs Petition

     for Damages.

            Also inthefollowing, "accident site"refers to theprecise location where plaintiffsaccident

     occurred.

                                         INTERROGATORIES


     INTERROGATORY NO. 1:

            Please listthenames, current occupations, addresses, email addresses and telephone numbers

     of all eye witnesses to the accident.

     INTERROGATORY NO. 2:

             Please listthenames,currentoccupations, addresses, email addresses andtelephone numbers

     ofall Dollar General employees at the store referred tointhe Petition at the time of the accident.




                                                Page 1 of 4
Case 2:16-cv-17647-NJB-JVM Document 1-2 Filed 12/21/16 Page 6 of 11




     INTERROGATORY NO. 3:


             Please listthename, current occupation, address, email address andtelephone number ofthe

     DollarGeneralemployee who stockedthe liquidsoap that ultimately caused the accident, and the

     name, current occupation, addresses, email addresses andtelephone numbers of the DollarGeneral

     employee who was in charge of inspecting the soap at the time of the accident.

     INTERROGATORY NO. 4:


            Please list the names, current occupations, addresses, social security numbers and telephone

     numbersofyoursupervisors,floor managers, assistantmanagersand stores managerson dutyat the

     time of the accident.


     INTERROGATORY NO. 5:

            Please list the names, current occupations, addresses, social security numbers and telephone

     numbers of the Dollar General employees responsible for policing or cleaning up the accident site

     at the time of the accident.

     INTERROGATORY NO. 6:

             Please list all of the witnesses that you may call at the trial of this matter, including the

     witness' name, address, phone number, email address, current occupation, title, and whether this

     witness will be called as a fact or expert witness.

     INTERROGATORY NO. 7;

             Please describe theage, make, model andtype of floor installed at theaccident site.


                                    REQUESTS FOR PRODUCTION



     REQUEST FOR PRODUCTION NO. It

             Please provide a copy of the accident or incident report.

     REQUEST FOR PRODUCTION NO. 2:

             Please provide a copy ofCatherine Betemps* witness statement, recorded orotherwise.
     REQUEST FOR PRODUCTION NO. 3;

             Please provide acopy ofany witness statements, describing orreferring tothe accident sued

                                                  Page 2 of 4
Case 2:16-cv-17647-NJB-JVM Document 1-2 Filed 12/21/16 Page 7 of 11




     upon.


     REQUEST FOR PRODUCTION NO. 4;


             Please provide a copy ofall surveillance video of the accident and/or accident site taken on

     the day of the accident.

     REQUEST FOR PRODUCTION NO. 5;


             Please provide a copy of any photographs of the accident and/or accident site.

     REQUEST FOR PRODUCTION NO. 6:


             Please provide a copy of your written slip and fall prevention procedures, floor cleaning

     policyand floor maintenance schedule, that were in placeat the time of the accident.

     REQUEST FOR PRODUCTION NO. 7:

             Please providea copy of your written product inspection and productstocking policyand

     maintenance schedule that was in place at the time of the accident.

     REQUEST FOR PRODUCTION NO. 8;

             Please provide a schematic or blueprint of the interior layout of the Dollar General store

     where the accident occurred.

     REQUEST FOR PRODUCTION NO. 9:

             Please provide copies ofallofthe exhibits, including impeachment evidence, that you may

     use at the trial of this matter.

                                                   Respectfully, submitted,

                                                   WOODY FALGOUST,
                                                   A Law Corporation




                                                   WOODY FALGOUST<ig3726)
                                                   CASSIE RODRIGUE BRAUD (#30991)
                                                   1050 Canal Boulevard
                                                   Thibodaux, LA 70301
                                                   Telephone: 985-447-6665
                                                   Fax: 985-493-9908
                                                   Attorneys for the plaintiff Catherine D. Betemps



     SEE NEXT PAGE FOR SERVICE INSTRUCTIONS

                                                 Page 3 of 4
Case 2:16-cv-17647-NJB-JVM Document 1-2 Filed 12/21/16 Page 8 of 11




     PLEASE SERVE WITH THE PETITION FOR DAMAGES;

     DOLGENCORP, LLC
     d/b/a DOLLAR GENERAL
     through its agent for services of process:
     Corporation Service Company
     501 Louisiana Avenue
     Baton Rouge, Louisiana 70802




                                                                 ATRUE COPY
                                                              Clerk of Court s Office



                                                  Page 4 of
2016-12-21 10:41
 Case 2:16-cv-17647-NJB-JVM
                   LafourcheClerkDocument9854475800
                                          1-2 Filed» 12/21/16   Page
                                                        1_800_977_8810                                 9Pof2/411
                                                        •><;>




                                                                                               D1324946


                                                CITATION

          CATHERINE D BETEMPS                         SEVENTEENTH JUDICIAL DISTRICT
         VS                                           PARISH OF LAFOURCHE
         DOLGENCORP LLC, ET AL                        STATE OF LOUISIANA
         DOCKET NUMBER: C-131308

         TO:    DOLGENCORP LLC
                D/B/A DOLLARGENERALTHRUITSAGENT
                CORPORATION SERVICE COMPANY, 501 LOUISIANA AVENUE
                BATON ROUGE, LA 70802
                residing In thePARISH OF BAST BATON ROUGE, STATE OF LOUISIANA
                  You are hereby cited tocomply with the demand contained inthe Petition for Damages a
         certified copy ofwhich accompanies this citation. Alternatively, you should file an answer or
         other pleading tosaid Petition for Damages inthe office of the Clerk ofthe Seventeenth Judicial
         District Court, inThibodaux, Louisiana, within fifteen (15) days after the service hereof. Your
         failure tocomply herewith will subject you to the penalty ofentry ofdefault judgment against
         you.

                       WITNESS theHonorable Judges of said Court.
                Granted under theimpress of my seal of office and my official signature atThibodaux,
         Louisiana, November 14,2016.
                                                                 IETTEM.FONTANA.
                                                                        OnCOURT'"'



         WOODY FALGOUST
         ATTORNEYS AT LAW
                                    FILED
          1050 CANALBLVD.            MQV ? A 0Mfi
         THIBODAUX, LA 70301 m* L° mQ
                                        K OF COURT

         PERSONAL SERVICE




                                                            Dty. Sheriff EAST BATON ROUGE Parish
Case 2:16-cv-17647-NJB-JVM
2016-12-21 10:41                Document 9854475800
                   LafourcheClerk        1-2 Filed»12/21/16   Page 10
                                                      1_800_977_8810 P                                  of 11
                                                                                                        3/4




                                                                                             D1324979


                      NOTICE OF REQUEST FOR PRODUCTION

         CATHERINE D BETEMPS                         SEVENTEENTH JUDICIAL DISTRICT

         VS                                          PARISH OF LAFOURCHE

         DOLGENCORP LLC, ET AL                       STATE OF LOUISIANA

         DOCKET NUMBER: C-131308


         TO:    DOLGENCORP LLC
                D/B/A DOLLAR GENERAL THRU ITS AGENT
                CORPORATIONSERVICECOMPANY, 501 LOUISIANA AVENUE
                BATON ROUGE, LA 70802

                PLEASE BENOTIFIED THAT onNovember 10,2016, a Request for Production of
         Documents was filed in the above numbered and entitled matter. You are hereby directed to
         comply with the said Request for Production inaccordance with the Louisiana Code ofCivil
         Procedure.


                A certified copyof theRequest forProduction is attached hereto.

                INTESTIMONY WHEREOF, witness myhand and official seal of office, this
         November14,2016, atThibodaux, Louisiana.

                                                                 CTTEM.FONTANA
                                                             VCLERKOF COURT




                                                                            $?S^

                                                                   &r




                                                                             NOV 28 2016

                                                                          rj^tftoURT
Case 2:16-cv-17647-NJB-JVM
2016-12-21 10:42                Document 9854475800
                   LafourcheClerk        1-2 Filed» 12/21/16   Page
                                                       1 800 977 8810                               11 of 11
                                                                                                     P 4/4
I

                                                   'W


                                                                                               D1324953


                          CITATION ON INTERROGATORIES

          CATHERINE D BETEMPS                         SEVENTEENTH JUDICIAL DISTRICT
          VS                                          PARISH OF LAFOURCHE
          DOLGENCORPLLC, ET AL                        STATE OF LOUISIANA
          DOCKET NUMBER: C-131308


          TO:    DOLGENCORP LLC
                 D/B/A DOLLAR GENERAL THRUITS AGENT
                 CORPORATION SERVICE COMPANY, 501 LOUISIANA AVENUE
                 BATONROUGE, LA 70802


                        YOU ARE HEREBY SUMMONED to comply with the demand contained inthe
                interrogatories ofwhich acopy accompanies this citation, or deliver your answer to the
                same inthe office ofthe Clerk ofthe 17* Judicial District Court inan for the Parish of
                Lafourche, State ofLouisiana within 30 days after the service thereof, and to answer in
                writing, under oath and categorically, the interrogatories, acopy ofwhich accompanies
                this citation, and todeliver your answer tothesame intheoffice of thesaid Clerk within
                30 days afterthe servicethereof.
                       WITNESS the Honorable Judges ofsaid Court, this November 14,2016.


                                                             ANNETTE M. FONTANA- "
                                                                            COURT




         ATTORNEY:
                WOODY FALGOUST
                ATTORNEYS AT LAW
                 1050 CANAL BLVD.
                THffiODAUXafcAJ03M _^
                              FILED
         PERSONAL SERVICE
                              NOV 28 2016

         On.                    $ita<COURT
         Day of_                          ^ 20.
         Service:^
         Mileage:,

                                                             Service:^
                                                             Mileage:_

         Dty. SheriffE^T.B^p»*p*2GE Parish                   Dty. Sheriff EAST BATON ROUGE
                     I herebycatf'y thatthis Noticeof Service Parish
                     wasnjpHsA b£m«tf#hettQ^esfeg parry.

                                    /Z^^J^J-
